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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:22−cr−00323
                                                           Honorable Steven C. Seeger
Thomas Pavey, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 23, 2023:


         MINUTE entry before the Honorable Steven C. Seeger as to Raheim Hamilton:
Hearing held on March 23, 2023. The Court entertained oral argument on defendant's
appeal of the order of detention, which lasted about two hours. For the reasons stated in
open court, this Court affirms the order of detention. See 18 U.S.C. § 3145. The Court
agrees with the decisions of both of the Magistrate Judges that denied bail and ordered
pretrial detention (including Magistrate Judge Miller in the Eastern District of Virginia,
and Magistrate Judge Fuentes in the Northern District of Illinois). Based on the entire
record, the Court finds by a preponderance of the evidence that defendant poses a serious
risk of flight. After considering the factors in 18 U.S.C. § 3142(g), the Court finds that no
condition or set of conditions will reasonably assure defendant's appearance. Defendant
shall be remanded into custody of the U.S. Marshals. A status hearing is set for May 30,
2023 at 10:00 a.m. Without objection, time is excluded in the interest of justice from
March 23, 2023 to and including the next hearing pursuant to 18 U.S.C. § 3161(h)(7)(A)
for reasons stated on the record. Mailed notice (jjr, )




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